                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                  AT CHATTANOOGA

MARTHA A. COOK and                                )
KENNETH W. COOK,                                  )
                                                  )
         Plaintiffs,                              )
v.                                                )    CIVIL NO: 1:07CV-108
                                                  )    Judge: Collier
                                                  )    Magistrate Judge: Lee
STATE FARM MUTUAL AUTO                            )
INSURANCE COMPANY,                                )
                                                  )
         Defendant.                               )


                                    NOTICE OF FILING

         Comes now the Defendant, by and through their counsel of record and would submit this

Notice of Filing. The parties have entered into an Order of Dismissal in this matter. A Proposed

Order is attached to this filing.



                                           s/Gareth S. Aden
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on October 2, 2007, a copy of the foregoing was filed electronically.
Notice of this filing will be sent by operation of the Court’s electronic filing system to all parties
indicated on the electronic filing receipt. All other parties will be served by regular U.S. mail.
Parties may access this filing through the Court’s electronic filing system.

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                                                      s/Gareth S. Aden




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